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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA ORDER OF RESTITUTION
v. S118 Cr. 759 (JSR)
SAVRAJ GATA-AURA,
Defendant.

 

 

Upon the application of the United States of America, by its attorney, AUDREY
STRAUSS, Acting United States Attorney for the Southern District of New York, Vladislav
Vainberg and Martin Beil, Assistant United States Attorneys, of counsel; the presentence report;
the Defendant’s conviction on Count 1 of the above Indictment; and all other proceedings in this
case, it is hereby ORDERED that:

1. Amount of Restitution. SAVRAJ GATA-AURA, the Defendant, shall pay restitution
in the total amount of $39,972,000 to the victims of the offense charged in Count 1. The names,
addresses, and specific amounts owed to each victim are set forth in the Schedule of Victims.
Upon advice of a change of address, the Clerk of the Court is authorized to send payments to the
new address without further order of this Court.

2, Joint and Several Liability. Defendant's liability for restitution shall be joint and
several with that of any other defendant ordered to make restitution for the offenses in this matter,
up to $39,972,000, including any defendants who have not yet been charged and the defendants in
the following cases that have not yet been sentenced:

Renwick Haddow under docket United States v. Haddow, 19 Cr. 340 (LTS) (8.D.N.Y.)

James Moore under docket United States v. Moore, 18 Cr. 759 (RMB) (S.D.N.Y.)

 
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3. Defendant’s liability for restitution shall continue unabated until either the Defendant
has paid the full amount of restitution ordered herein, or every victim has been paid the total
amount of his loss from all the restitution paid by the Defendant and co-defendants in this matter,
up to $39,972,000.

4, Inthe event that additional victims are identified following the entry of this Restitution
Order, the Government reserves the right to seek an amended judgment to add additional victims
without modifying the total amount of restitution as to which this defendant is liable.

5. Sealing. Consistent with 18 U.S.C. §§3771(a)(8) & 3664(d)(4) and Federal Rule of
Criminal Procedure 49.1, to protect the privacy interests of victims, the Schedule of Victims
attached hereto shall be filed under seal, except that copies may be retained and used or disclosed

by the Government, the Clerk’s Office, and the Probation Department, as need be to effect and

 
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enforce this Order, without further order of this Court.

Dated: New York, New York

HES tly

JED &. RAKOFF
UNITED STATES DISTRICT JUDGE

 
